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                                                          Quick Guide for Sponsored Nurses
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                                About Advanced Care Staffing



Check out our website http://advancedcarestaffing.com/
and learn more by checking out this short clip
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                                         You are being sponsored as a
                                       Registered Nurse in USA and you
                                      will be assigned to work in a Skilled
                                      Nursing Facility (SNF) also known as
                                          Long Term Care (LTC)Facility.

                                         Before signing the contract, it is
                                         important that you understand
                                        your role and the demands of this
                                                     position.
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                             1. SNFs operate 24/7 as residents need nursing care
                             round the clock, therefore it is expected that you will
                             be working on different shifts including holidays and
                             weekends.
                             2. You will conduct nursing care to all residents on the
What to                      floor and as such, you will work on high patient
                             volume (example nurse-patient ratio 42:1) and
expect in an                 conduct medication and treatment administration,
                             family and physician notification as needed, Electronic
SNF/LTC                      Medical Record (EMR) documentation all within your
                             shift. Keep in mind, this is a long-term care setting.
setting:                     3. You may be asked to participate in an
                             interdisciplinary care plan team including assisting
                             physicians and conducting facility programs.
                             4. It is normal that when the facility is short staffed,
                             you may be required to work overtime and or longer
                             hours as allowed by the Labor department.
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                              5. It is critical that you actively and consistently
                              practice all nursing skills required for the position.
                              Please refer to this nursing skills checklist.
                              6. Good attendance and punctuality is a must. In
What to                       US, we do not have many holidays compared to
                              the Philippines. We observe around 7 holidays in
expect in an                  a given year. People up here consistently work
SNF/LTC                       and work hard therefore, you are expected to
                              show up for work at all times.
setting:                      7. It is expected that you help with other floors if
                              needed or discretionary by the Supervisor.
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Understanding Skilled Nursing Homes
 Please watch an overview of skilled nursing and long-term care facility below.
